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                                   1                                                                                        May 31 2022
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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                               Case No. 22-mj-70714-MAG-1 (DMR)
                                                            Plaintiff,
                                   8
                                                                                                 Charging District's Case No.
                                                  v.
                                   9
                                                                                                 2:11-cr-00625-TS-1
                                  10     MANUEL ALEJANDRO CHAVIRA-
                                         VALLADARES,
                                  11                        Defendant.
                                  12                                 COMMITMENT TO ANOTHER DISTRICT
Northern District of California
 United States District Court




                                  13          The defendant has been ordered to appear in the District of Utah - Central Division.

                                  14   The defendant will need an interpreter for the Spanish language.

                                  15          The defendant:               (x) is requesting court-appointed counsel.

                                  16          The defendant remains in custody after the initial appearance.

                                  17

                                  18          IT IS ORDERED: The United States Marshal must transport the defendant, together with

                                  19   a copy of this order, to the charging district and deliver the defendant to the United States Marshal

                                  20   for that district, or to another officer authorized to receive the defendant. The Marshal or officer

                                  21   of the charging district should immediately notify the United States Attorney and the Clerk of the

                                  22   Clerk for that district of the defendant's arrival so that further proceedings may be promptly

                                  23   scheduled. The Clerk of this district must promptly transmit the papers and any bail to the

                                  24   charging district.

                                  25   Dated: May 31, 2022
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                                  26                                                            NNA M
                                                                                             DONNA    M. RYU
                                                                                             United States Magistrate Judge
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